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UNITED STATES BANKRUPTCY COURT
DISTRICT OF RHODE ISLAND



In Re: DAVID W. WAGNER                                   18-10071




 STACY B. FERRARA, TRUSTEE            }
                                      }
 VS.                                  }       ADV. PROC. # 19-AP-01010
                                      }
 DAVID W. WAGNER                      }
 ____________________________________ }



                              MOTION TO QUASH


      NOW comes PAWTUCKET CREDIT UNION (“PCU”), by and through counsel,

and hereby objects to and moves to quash the subpoena served upon it by Attorney

for The Plaintiff/Trustee Peter J. Furness in the above entitled matter. (A copy of

said subpoena is attached hereto as Exhibit 1). Said subpoena demands private

financial information of eleven (11) entities, including the Debtor, four (4) other

individuals and six (6) business entities, for a period from January 1, 2016 to the

present.

      In support of its Motion to Quash, PCU avers that the subpoena calls for

disclosure of privileged financial documents protected under the Gramm-Leach-

Bliley Act, 15 USC §6801, et seq.
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      The Gramm-Leach-Bliley Act seeks to protect consumer financial privacy. Its

provisions limit when a "financial institution" may disclose a consumer's "nonpublic

personal information" to nonaffiliated third parties. Financial institutions must

notify their customers about their information-sharing practices and tell consumers

of their right to "opt-out" if they don't want their information shared with certain

nonaffiliated third parties. In addition, any entity that receives consumer financial

information from a financial institution may be restricted in its reuse and

redisclosure of that information.

      Violations of the Act include improper and unauthorized disclosure of private

financial information and carries severe penalties: A financial institution can be fined

up to $100,000 for each violation; officers and directors can be fined up to $10,000 for

each violation as well as face imprisonment for up to 5 years.

      In light of the above, PCU prays for an order quashing Plaintiffs’ Subpoena.



                                        PAWTUCKET CREDIT UNION,
                                        By its Counsel,

                                        /s/ Joel J. Votolato
                                        ____________________________
                                        Joel J. Votolato (# 7059)
                                        GANNON BAILEY & VOTOLATO, PC.
                                        727 Central Ave.
                                        Pawtucket, RI. 02861
                                        401-724-1400 (tel)
                                        401-724-6502 (fax)
                                        joel@gbdvlaw.com
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                           CERTIFICATE OF SERVICE



I, Joel J. Votolato, state that on June 5, 2019, I electronically filed this document
with the United States Bankruptcy Court for the District of Rhode Island using the
CM/ECF System.

 Trustee / Plaintiff                        Counsel for Trustee

 Stacy B. Ferrara                           Peter J. Furness
 Nolan, Brunero, Cronin & Ferrara, Ltd.     Richardson, Harrington & Furness
 1070 Main Street                           182 Waterman Street
 Coventry, RI 02816                         Providence, RI 02906
 (401) 828-5800                             (401) 273-9600
                                            Fax : (401) 273-9605
                                            Email: peter@rhf-lawri.com

 Counsel for Debtor

 Russell D. Raskin
 Raskin & Berman
 116 East Manning Street
 Providence, RI 02906
 (401) 421-1363
 Email: mail@raskinberman.com


Additionally, on the same date as set forth above, service of a true and accurate copy
of said Motion was served by first class mail, postage prepaid to the following persons
on the entities below not designated as receiving notice by the court’s CM/ECF
system:




                                        /s/ Joel J. Votolato
                                        _____________________________
                                        Joel J. Votolato
